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Attorney for Plaintiff
KRISTINA JAYNE LAFFERTY

                         UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF IDAHO


 OFF-SPEC SOLUTIONS, LLC, an Idaho Limited
 Liability Company, dba COOL MOUNTAINT                    Case No: 22-00346-NGH
 TRANSPORT
                                                          Chapter: 11
 Debtor


 KRISTINA JAYNE LAFFERTY,
                                                          Adv. Proc. No: 22-06020-NGH
 Plaintiff, Appellant

 vs.

 OFF-SPEC SOLUTIONS, LLC, an Idaho Limited
 Liability Company, with assumed name Cool Mountain
 Transport

 OFF-SPEC SOLUTIONS, LLC, is a Delaware Limited
 Liability Company,

 CVF CAPITAL PARTNERS, INC., is and was a
 Delaware corporation doing business in California, and

 KEVIN CHOATE

 Defendant(s), Appellee(s)




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 _____________________________________________________________________________

              APPELLANT’S DESIGNATION OF RECORD ON APPEAL

 _____________________________________________________________________________

1. Pursuant to Federal Rule of Bankruptcy Procedure 8009, Appellant KRISTINA JAYNE

LAFFERTY hereby designates the following items to be included in the record on appeal:

  No       FILE DATE                  PAPER NO.                        PLEADING

 1.    December 13, 2022      Doc. 1 (Adv. Proc. Filed in     Complaint to Determine
                              Main Case 22-06020-NGH)         Dischargeability of Debt
                              and Doc 147 (Main BK Case)      Pursuant to 11 U.S.C. §
                                                              523(a), with attachments -
                                                              Adversary case 22−06020. 68
                                                              (Dischargeability − 523(a)(6),
                                                              willful and malicious injury):
                                                              Complaint by Kristina Jayn
                                                              Lafferty against Off−Spec
                                                              Solutions, LLC, Off−Spec
                                                              Solutions, LLC (DE), CVF
                                                              CAPITALPARTNERS, INC,
                                                              Cool Mountain Transport,
                                                              Kevin Choate. Fee Amount
                                                              $350 (Attachments: # 1 Exhibit
                                                              Plaintiff's Exhibit 1 # 2 Exhibit
                                                              Plaintiff's
                                                              Exhibit 2) (Brilliant, Ronald)

 2.    December 13, 2022      Doc. 1-1 (Adv. Proc. Filed in   Exhibit Attached to
                              Main Case 22-06020-NGH)         Complaint to Determine
                              and Doc 147-1 (Main BK          Dischargeability of Debt
                              Case)                           Pursuant to 11 U.S.C. §
                                                              523(a)
 3.    December 13, 2022      Doc. 1-2 (Adv. Proc. Filed in   Exhibit Attached to
                              Main Case 22-06020-NGH)         Complaint to Determine
                              and Doc 147-2 (Main BK          Dischargeability of Debt
                              Case)                           Pursuant to 11 U.S.C. §
                                                              523(a)
 4.    January 3, 2023        Doc. 33 (Adv. Proc.)            Motion to Dismiss Case Filed
                                                              by Defendants CVF CAPITAL
                                                              PARTNERS, INC, Kevin
                                                              Choate, Cool Mountain
                                                              Transport, Off−Spec Solutions,


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                                                           LLC, Off−Spec Solutions, LLC
                                                           (DE) (Attachments: # 1
                                                           Memorandum in Support)
                                                           (Christensen, Matthew)
 5.    January 13, 2023        Doc. 36 (Adv. Proc)         Response to (related
                                                           document(s): 33 Motion to
                                                           Dismiss Case filed by
                                                           Defendant Off−Spec Solutions,
                                                           LLC, Defendant Cool
                                                           Mountain
                                                           Transport, Defendant Off−Spec
                                                           Solutions, LLC (DE),
                                                           Defendant CVF
                                                           CAPITAL PARTNERS, INC,
                                                           Defendant Kevin Choate) Filed
                                                           by Plaintiff
                                                           Kristina Jayn Lafferty
                                                           (Attachments: # 1
                                                           Memorandum in Support of
                                                           Response) (Brilliant, Ronald)
 6.    January 31, 2023        Doc 44 (Adv. Proc)          Request for Transcript re:
                                                           Appeal including but not
                                                           limited to that portion of the
                                                           transcript setting forth the
                                                           court’s findings of fact and
                                                           conclusions of law and ruling.
                                                           [Transcript Ordered & to be
                                                           Supplemented]
 7.    February 1, 2023        Doc 45 (Adv. Proc)          Notice of Referral of Appeal
                                                           to Bankruptcy Appellant
                                                           Panel
 8.    February 1, 2023        Doc. 46 (Adv. Proc)         Initial Transmittal to
                                                           Bankruptcy Appeals Panel
 9.    February 2, 2023        Doc 47 (Adv Proc)           Notice of Docketing Record
                                                           on Appeal to BAP
 10.   January 18, 2023        Doc 38 (Adv. Proc)          Order Granting Motion to
                                                           Dismiss Case. (Related Doc
                                                           #33) Signed on 1/18/2023. (hs)
 11.   February 14, 2023       Doc. Not Yet Filed          This Designation of Contents
                                                           and Statement of Issues
 12.   January 31, 2023        Doc 42 (Adv. Proc)          Notice of Appeal and
                                                           Statement of Election
 13.   January 31, 2023        Doc 42-1 (Adv. Proc)        Notice of Appeal and
                                                           Statement of Election -
                                                           Attachment



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 14.                           Case number: 22-00346-        Claims Register
                               NGH – (Main BK Case)
 15.   December 13, 2022       Claim 34-1 (Main BK Case      Proof of Claim - Lafferty
 16.   December 13, 2022       Claim 34-1 Part 2 (Main BK    Proof of Claim - Lafferty
                               Case)
 17.   January 31, 2023        Doc. 43                       Receipt of Notice of Appeal
                                                             and Statement of Election
 18    January 17, 2023        Doc. 37 - Entry               Hearing Held


Dated: February 14, 2023                         Respectfully Submitted,

                                                 /s/Ronald Walter Brilliant
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                                                 Appellant




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                                 CERTIFICATE OF SERVICE

I, Ronald Brilliant, hereby certify that on this 14th day of February 2023 a copy of the foregoing.

Appellants’ Notice of Appeal and attachments were served by either CM/ECF or First-Class U.S.

Mail postage prepaid, as designated below, upon the following:

 No.           Party                   Attorney                      Attorney Address

  1.   OFF-SPEC               Matthew T. Christensen      Matthew T. Christensen, Johnson
       SOLUTIONS, LLC,                                    May, PLLC
       an Idaho Limited       Jason E Rios                199 N. Capitol Blvd, Suite 200
       Liability Company                                  Boise, ID 83702
                              Paul J Pascuzzi             208-384-8588
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                                                          Felderstein Fitzgerald Willoughby
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                                                          Wilmington, DE 19801-1196 (USPS
                                                          Mail)
  3.   CVF CAPITAL            In Pro Per                  Jose Carlos Blanco
       PARTNERS, INC.,                                    CEO CVF CA


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       is and was a                                  1590 Drew Avenue, Suite 110 Davis,
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       Corporation doing                             (USPS Mail)
       business in
       California
  4.   KEVIN CHOATE,        Tara Martens Miller      Tara Martens Miller of Counsel
       an individual                                 Holland & Hart LLP
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  5.   COOL                 Matthew T. Christensen   Matthew T. Christensen, Johnson
       MOUNTAIN                                      May, PLLC
       TRANSPORT            Jason E Rios             199 N. Capitol Blvd, Suite 200
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  6.   CVF CAPITAL          In Pro Per               Corporation Service Company
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       is and was a                                  Wilmington, DE 19808-1674
       Delaware
       Corporation
  7.   Bankruptcy Trustee   Matthew W Grimshaw       Grimshaw Law Group, P.C.
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